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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

  RODNEY JONES,                              Case No.: 24-cv-01457
                     Plaintiff,
  -against-                                  MEMORANDUM OF LAW IN
                                             OPPOSITION TO MOTION FOR
  SEAN COMBS,                                SANCTIONS
  JUSTIN DIOR COMBS,
  CUBA GOODING JR.,
  LUCIAN CHARLES GRAINGE,
  KRISTINA KHORRAM,
  LOVE RECORDS,
  MOTOWN RECORDS,
  UNIVERSAL MUSIC GROUP,
  COMBS GLOBAL ENTERPRISES,
  JOHN and JANE DOES 1-10 and
  ABC CORPORATIONS. 1-10,
                Defendants.




 PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT UMGS
                     MOTION FOR SANCTIONS




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                                 INTRODUCTION
       As much as the UMG defendants pouted and threw a temper tantrum because they were
named in this litigation, they have inexplicably continued their involvement by filing this
unwarranted motion for sanctions against Plaintiff and its Counsel. The Defendants' motion is
facially deficient, presenting no support in law or fact that would entitle them to the "highly
unusual" and "limited" relief provided for under § 1927 or the Court's inherent power to award
sanctions.
       The Defendant's sole ground is that the Plaintiff's now withdrawn Complaint was deficient
and filed in bad faith (even though the Court granted Plaintiff's request to amend). The law is clear
that the mere filing and withdrawal of a single Complaint cannot form the basis for § 1927 or
discretionary sanctions.
       Furthermore, even if an initial pleading could provide the basis for such sanctions (it
cannot), the Defendants’ motion does not include a single particularized allegation to establish the
“clear showing of bad faith” required for such sanctions. Nor could it.
       This lawsuit was instituted to recover damages for Defendants' participation in the Sean
Combs sex trafficking and RICO enterprise. The Plaintiff and its Counsel engaged in a reasonable
investigation before asserting the Plaintiff’s claims and had a well-founded basis for the merits
allegations in the Complaint.
       Plaintiff’s reasoned decision to withdraw its claims after discovering that Sean Combs
(“Combs”) did not sign the sham distribution agreement with Motown Records, Plaintiff reasoned
that it would be impractical to hold the UMG defendants liable for the actions of Combs when
they may themselves be victims of fraud perpetrated by Combs. When Plaintiff notified Defendant
of his decision, Plaintiff had nearly seven days, pursuant to Rule 11's safe harbor provision, to
voluntarily dismiss the case against the UMG defendants.
       In a showing of good faith, Plaintiff allowed Defendant counsel Donald Zakarin
(“Zakarin”) to draft the dismissal documents, including the declaration. Zakarin informed Plaintiff
that after the documents were filed, he would respond and consent to the dismissal. Zakarin never
informed the Plaintiffs' Counsel of his intention to engage in dirty, unethical gamesmanship by
repacking his Rule 11 sanctions motion as a sanction motion pursuant to § 1927 or the Court's
inherent power. This dirty move by Zakarin evidenced his true character.




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         It is pretty rich for the UMG defendants and Zakarin to claim that the Plaintiff multiplied
the proceedings when, in fact, the Plaintiff's voluntary dismissal was done for the sole purpose of
minimizing the proceedings. Indeed, the Defendants acted to extend litigation by bringing a
sanctions motion completely devoid of merit. The Defendants proceeded to seek sanctions that the
Defendants acknowledge in their motion papers are prohibited under Rule 11.
         Under these circumstances, the cause exists to require the Defendant and their Counsel to
bear the Plaintiff's costs and attorney's fees incurred in responding to this baseless and improper
motion.
                                   FACTUAL BACKGROUND
         The Plaintiff assumes the Court is well-versed in the claims raised in the Second Amended
Complaint and incorporates those facts hereto.

                                     LEGAL STANDARD
         The sanctions authority provided by 28 U.S.C. § 1927 and the District Court's inherent
powers only operate in the limited circumstances where a party (or its attorney) has acted in bad
faith. Eisemann v. Greene, 204 F.3d 393, 395-96 (2d Cir. 2000); see also Gianna Enterprises v.
Miss World (Jersey) Ltd., 551 F. Supp. 1348, 1359 (S.D.N.Y. 1982). Under § 1927, any attorney
“who so multiplies the proceedings in any case unreasonably and vexatiously may be required by
the court to satisfy personally the excess costs, expenses, and attorneys’ fees reasonably incurred
because of such conduct.” 28 U.S.C. § 1927. The Court also maintains inherent power to award
reasonable attorneys’ fees when a party has “acted in bad faith, vexatiously, wantonly, or for
oppressive reasons.” Oliveri v. Thompson, 803 F.2d 1265, 1272 (2d Cir. 1986) (quotation marks
and citations omitted)1.
         The Second Circuit has cautioned that the power to issue such sanctions should be
exercised “with restraint and discretion,” limited to circumstances involving a “particularized
showing of bad faith.” United States v. Int’l Brotherhood of Teamsters, Chauffeurs,
Warehousemen and Helpers of Am., AFL-CIO, 948 F.2d 1338, 1345 (2d Cir. 1991); see also West

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  The bad faith requirements for sanctions based on the Court's inherent power and § 1927 are "nearly identical," with
the only practical distinction being that § 1927 sanctions can be made only against attorneys, while sanctions according
to the Court's inherent power may be made against an attorney, a party, or both. Jenkins v. XpresSpa Grp., Inc., No.
19 Civ. 1774, 2020 WL 7261138, at *13 (S.D.N.Y. December 10, 2020) (Caproni, J.); see also Oliveri, 803 F.2d at
1273 ("[T]he only meaningful difference between an award made under § 1927 and one made according to the court's
inherent power is ... that awards under § 1927 are made only against attorneys or other persons authorized to practice
before the courts while an award made under the court's inherent power may be made against an attorney, a party, or
both").


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Virginia v. Chas. Pfizer & Co., Inc., 440 F.2d 1079, 1092 (2d Cir. 1971) (§ 1927 sanctions are
“highly unusual and require[] a clear showing of bad faith”). These sanctions “are not to be lightly
imposed … [T]o justify the imposition of excess costs of litigation upon an attorney, his conduct
must be of an egregious nature, stamped by bad faith that is violative of recognized standards in
the conduct of litigation.” Colucci v. New York Times Co., 533 F. Supp. 1011, 1013-14 (S.D.N.Y.
1982).
         When deciding whether to impose sanctions under the Court's inherent authority and
according to § 1927, the Court must find that the challenged claims were (i) “without a colorable
basis” and (ii) “brought in bad faith, i.e., motivated by improper purposes such as harassment or
delay.” Schlaifer Nance & Co. v. Est. of Warhol, 194 F.3d 323, 340 (2d Cir. 1999) (Mot. at 6); see
also Revson v. Cinque & Cinque, P.C., 221 F.3d 71, 79 (2d Cir. 2000) (holding that, “[t]o impose
sanctions under [the court's inherent authority or section 1927], the trial court must find clear
evidence that (1) the offending party's claims were entirely meritless and (2) the party acted for
improper purposes") (all quotation marks and citations omitted). "The test is conjunctive, and
neither meritlessness alone nor improper purpose alone will suffice.” Jenkins, 2020 WL 7261138
at *13 (Caproni, J.) (internal quotation marks and citation omitted). “[B]ad faith may be inferred
only if actions are so completely without merit as to require the conclusion that they must have
been undertaken for some improper purpose[.]” Id. (quotation marks and citation omitted).

  I.     UMG Defendants Authored The Dismissal Documents And Are Using Their Work
         To Justify Sanctions Under The Court's Inherent Power:

         UMG    and   their   counsel,   Zakarin    have   engaged    in   unethical,   bad   faith,
vexatious gamesmanship to secure the voluntary dismissal. (Blackburn Decl. ¶ 17). The plaintiffs’
Counsel drafted a declaration for voluntary dismissal, and Zakarin insisted on amending it.
(Blackburn Decl. ¶ 6). In good faith, Plaintiff Counsel agreed to allow Zakarin to amend the
dismissal documents in exchange for Defendants not filing the sanctions motion on May 17, 2024.
(Blackburn Decl. ¶ 14). Zakarin double-crossed this writer and filed a revamped version of UMG's
Rule 11 Sanctions motion on May 17, 2024. (Blackburn Decl. ¶ 16).




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 II.   The UMG Defendants Are Not Entitled To Relief Pursuant To Section 1927 And/Or
       The Court's Inherent Powers:

          a. Sanctions Pursuant to Inherent Powers Are No Substitute for Rule 11
       As United States Magistrate Judge for the Southern District of New York Sarah Netburn
held on December 1, 2023, in Dwelling Mgmt. v. Mission 8, LLC, 23-cv-02593, “it would be
improper for the Court to impose sanctions pursuant to § 1927 and the Court's inherent authority
[so that] a party could evade Rule 11's safe harbor provision by simply seeking sanctions under
other authority [.]. The safe harbor provision would be rendered "meaningless." Richtone Design
Grp. L.L.C. v. Classical Pilates, Inc., No. 06-cv-0547 (NRB), 2007 U.S. Dist. LEXIS 26998, 2007
WL 1098706, n.1 (S.D.N.Y. April 10, 2007) (citing Corley v. Rosewood Care Center, Inc., 142
F.3d 1041, 1059 (7th Cir. 1998)); Bellistri v. the United States, No. 94-cv-3768 (KMW), 1998
U.S. Dist. LEXIS 9251, 1998 WL 337884, at *1 (S.D.N.Y. June 25, 1998) (holding that where a
court "declined to award Rule 11 sanctions because of [plaintiff's] failure to comply with the safe
harbor provision of Rule 11," awarding § 1927 sanctions "would undermine the safe harbor
provision of Rule 11 by essentially reading it out of the Rule"); see also Danielle Kie Hart, And
the Chill Goes On — Federal Civil Rights Plaintiffs Beware: Rule 11 Vis-à-Vis 28 U.S.C.
1927 and the Court's Inherent Power, 37 Loy. L.A. L. Rev. 645, 684 (2004) (arguing that "there
are strong policy arguments that using 28 U.S.C. 1927 or the court's inherent power to sanction to
sidestep Rule 11's procedural requirements should be improper").
       USMJ Netburn's opinion reverberates throughout United States District Courts nationwide.
The relationship between § 1927 and the Rules (particularly Rule 11) is important, especially if §
1927 is used to "sidestep" the safe harbor protections of Rule 11. See, e.g., Danielle Kie Hart, And
the Chill Goes On--Federal Civil Rights Plaintiffs Beware: Rule 11 Vis-a-Vis 28 U.S.C.
§ 1927 and the Court's Inherent Power, 37 Loy. L.A. L. Rev. 645, 649, 684 (2004).
       A number of courts have expressed concern, therefore, with relying on §
1927 to sanction conduct fully addressed within the Rules. In Chatham Partners v. Fidelity and
Deposit Co. of Maryland, Judge Martin stated in dictum that "given the policy considerations that
gave rise to the adoption of Rule 11's safe harbor provision, it seems inappropriate to use 28 U.S.C.
§ 1927 to do what the Court cannot do under Rule 11" (namely, award attorney fees for a frivolous
filing even though no Rule 11 notice was served). See 2001 U.S. Dist. LEXIS 17205, 2001 WL
1262960, at *2 (S.D.N.Y. 2001) (attorney fees were awarded under § 1927 even though a Rule 11



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motion was never filed because Judge Martin concluded that Rule 11 sanctions were not available
for filing an unwarranted order to show cause that did not permit the 21-day safe harbor notice
under Rule 11); see also Malbrough v. Kilpatrick & Stockton, LLC., 1999 U.S. Dist. LEXIS
13066, 1999 WL 643663 (E.D. La. August 23, 1999); Bellistri v. United States, 1998 U.S. Dist.
LEXIS 9251, 1998 WL 337884 (S.D.N.Y. June 25, 1998) ("to award § 1927 sanctions in the
context of this case would undermine the safe harbor provision of Rule 11 by essentially reading
it out of the Rule"). New Eng. Surfaces v. E. I. Dupont De Nemours & Co., 558 F. Supp. 2d 116,
124 n.12 (D. Me. 2008).
       Here, UMG and Zakarin used unethical gamesmanship to get Plaintiff to voluntarily
dismiss his Complaint against them with prejudice in exchange for not filing their sanctions
motion. (Blackburn Decl. ¶ 16-17). In good faith and in reliance on the April 26, 2024 email, this
writer allowed Zakarin to draft the dismissal papers. (Blackburn Decl. ¶ 14). Four days after the
dismissal, Zakarin filed the Rule 11 motion for sanctions but disguised it as a sanctions motion
pursuant to 28 U.S.C. §1927 and the Court's inherent powers. (Blackburn Decl. ¶ 18). A close
look at both documents will allow the Court to see that the motions are nearly identical. (Blackburn
Decl. ¶ 19). Zakarin did not have the decency to attempt to hide his bad faith; instead, the motion
pursuant to 28 U.S.C. §1927 and the Court's inherent powers is replete with rule 11 sanction
citations. (Blackburn Decl. ¶ 20).
       In Richtone, where the parties "failed to avail themselves of the remedies provided for in
Rule 11," the Court noted its reluctance to invoke its inherent powers such that safe harbor rights
are rendered meaningless. Id.

           b. Section 1927 Does Not Apply to The Conduct Alleged by Defendants:
       Even if the Court entertains UMG’s effort to evade Rule 11, §1927 is inapplicable to the
alleged circumstances. The statute targets attorneys that “multiply the proceedings in any case
unreasonably and vexatiously.” 28 U.S.C. §1927. Its “purpose is to deter unnecessary delays in
litigation." Eisner, 407 F.Supp.3d at 139, n 9. It is thus employed when attorneys clog a court's
docket with duplicative motions and frivolous arguments. See Rosenberg v. Frontline Asset
Strategies, LLC, 556 F.Supp.3d 157, 166 (E.D.N.Y. August 16, 2021) (making "the same losing
arguments over and over again constitutes the kind of vexatious litigation that §1927 and the
inherent power of the Court are designed to prevent.").



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       Therefore, unlike Rule 11's emphasis on specific statements or submissions to the Court,
§1927 addresses a "course of conduct" by attorneys in litigation—that is, attorney conduct during
litigation because "the statute is not aimed at pre-litigation conduct" like the contents of a
complaint governed by Rule 11. Neu Prods. Inc. v. Outside Interactive, Inc., 2024 US Dist LEXIS
47842, at *35 (S.D.N.Y. March 19, 2024) (citing Rates Tech., Inc. v. Mediatrix Telecom, Inc.,
2012 U.S. Dist. LEXIS 37883, at *2 (E.D.N.Y. March 19, 2012) (dismissing claims under §1927
because it is "not aimed at a plaintiff's pre-filing conduct"). In Rossbach v. Montefiore Med. Ctr.,
81 F.4th 124, 144 (2d Cir. 2023), the Second Circuit addressed the quintessential sort of §1927
litigation misconduct, where an attorney "stood by" the Complaint he filed via continued
submissions to the Court even after the falsity of its allegations became apparent. Id. Where an
attorney, however, signals their readiness to withdraw such a claim, no vexatious bad faith can be
found. In Peralta v. Regent Catering, Inc., No. 17-cv-6993, 2019 US Dist LEXIS 172855, at *5-6
(E.D.N.Y. September 30, 2019), plaintiffs' readiness "to enter into a stipulation of dismissal" [as
is the case here] defeated any suggestion of vexatious conduct, because it was defendants that
chose to continue litigation, not plaintiffs. In such circumstances, sanctions are inappropriate under
§1927 (or, as discussed above, pursuant to a Rule 11 motion).
       Plaintiff complies with his requirements pursuant to rule 11 of the FRCP on March 23,
2024, when he attempted to amend his pleadings to conform with the objections raised by the
Defendants in their March 4, 2024, letter, again cuts against the imposition of any sanctions.
(Blackburn Decl. ¶ 23). Even the Court acknowledged that the Plaintiff's proposed second
amended Complaint conformed with the demands UMG made in its March 4, 2024, letter. Refusal
to back down and to vet the new information Defendants provided to support their position does
not amount to bad faith or to a conclusion that Plaintiff knowingly filed false statements or multiple
frivolous arguments. (Blackburn Decl. ¶ 24).
       UMG’s allegations simply do not fit within the statute. They suggest that the fact that the
Plaintiff did not immediately sprint and acquiesce to their "table pounding" and "angry man" letters
but opted to conduct further research and vetting to ensure what the Defendants were claiming was
indeed true somehow evidences bad faith that “multiplied the proceedings.” There is no rule in
the Federal Rules of Civil Procedure that requires plaintiffs or their Counsel to take the word of
the defendants at face value, especially when the Plaintiff has conflicting information and personal
experiences that support their position. As was the case here.



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       The Plaintiff and Counsel did not file any part of this lawsuit in bad faith. The Plaintiff
relied on 13 months of personal experiences, conversations, and things he saw and reluctantly
participated in. (Jones Decl. ¶ 4). According to Plaintiff, the UMG Defendants were not the only
record labels and business partners present at Combs' home and parties. (Jones Decl. ¶ 78).
Plaintiff added UMG as defendants due to their public statements that they entered a partnership
with Combs and the personal conversations Combs had with Plaintiff concerning the UMG
defendants.

           c. The Sanctions Motion Is Inconsistent With Rule 11:

       Defendants’ sanctions motion addresses the sufficiency of Plaintiff’s Complaint and thus
falls “directly within the ambit of Rule 11.” See Bellistri v. U.S., Drug Enf’t Agency, No. 94 Civ.
3768, 1998 WL 337884, at *1 (S.D.N.Y. June 25, 1998). But courts in this Circuit have made clear
that a party cannot circumvent the requirements of Rule 11 by seeking sanctions under different
authorities if the conduct at issue falls within Rule 11's scope. Id. (§ 1927 sanctions precluded
when the sanctions were based on Plaintiff filing a complaint and opposing a motion to dismiss –
actions “directly subject to scrutiny under Rule 11”); Behrens, 2019 WL 1437019, at *14 n.15
(declining to “invoke [the Court’s] inherent powers to impose sanctions in light of the fact that the
parties … failed to properly avail themselves of the remedies provided for in Rule 11”). To award
sanctions through other legal means where Rule 11’s safe harbor prohibits them “would undermine
the safe harbor provision of Rule 11 by essentially reading it out of the Rule.” Bellistri, 1998 WL
337884, at *1; also Richtone Design Grp., L.L.C. v. Classical Pilates, Inc., No. 06 Civ. 0547, 2007
WL 1098706, at *2 n.1 (S.D.N.Y. April 10, 2007) ("[T]he invocation of this Court's inherent
powers in situations … where the moving party might have availed itself of Rule 11, would have
the unwanted and undesirable effect of rendering Rule 11's … safe harbor provision[]
meaningless." (internal quotation marks and citation omitted)).
       Defendants rely on Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 395 (1990) to argue
that a voluntary dismissal does not deprive the Court of jurisdiction to award sanctions in this
context but neglects to mention that Cooter was decided three years before the Rule 11
amendments that added the safe harbor provision, which superseded Cooter’s reasoning. See Qiu
v. Shanghai Cuisine, Inc., No. 18 Civ. 5448, 2021 WL 3929242, at *3 (S.D.N.Y. September 1,
2021) (Cooter was "superseded when Rule 11 was amended to include the safe-harbor provision



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… 'Thus, a court can no longer issue Rule 11 sanctions in a case where, as in Cooter & Gell, a
complaint was voluntarily dismissed within 21 days of a request for Rule 11 sanctions’” (citation
omitted))2.
         Defendants cite cases where courts considered sanctions motions under § 1927 or the
Court's inherent authority without addressing Rule 11 sanctions. These cases are entirely
distinguishable as they covered conduct beyond the initial filing of a Complaint and outside of the
scope of Rule 11 sanctions.3 Other cases cited by Defendants addressed § 1927 and inherent
sanctions in conjunction with Rule 11 sanctions because the party accused of sanctionable conduct
did not take advantage of the safe harbor period. Defendants have not cited a single case where the
conduct at issue fell within the ambit of Rule 11, the movant was prohibited from seeking Rule 11
sanctions pursuant to the safe harbor provision, and the Court still awarded sanctions under § 1927
or the Court’s inherent authority for that conduct. Indeed, several cases in this District make clear
that seeking § 1927 or inherent sanctions is "inappropriate" in such circumstances.
         Chatham Partners, Inc. v. Fid. And Deposit Co. of Maryland, No. 99 Civ. 12308, 2001 WL
1262960, at *2 (S.D.N.Y. October 19, 2001) (Mot. at 4) ("[G]iven the policy considerations that
gave rise to the adoption of Rule 11’s safe harbor provision, it seems inappropriate to use 28 U.S.C.
§ 1927 to do what the Court cannot do under Rule 11”); see also Pac. Elec. Wire & Cable Co.,
Ltd. v. Set Top Int’l Inc., No. 03 Civ. 9623, 2005 WL 2036033, at *6 (S.D.N.Y. August 23, 2005)
(Mot. at 5) (declining to award sanctions under § 1927 when "Plaintiffs withdrew their [] claims
as soon as [Defendant] threatened to bring a Rule 11 motion"); Galonsky v. Williams, No. 96 Civ.
6207, 1997 WL 759445, at *4, 7 (S.D.N.Y. December 10, 1997) (Mot. at 8) (awarding sanctions
for "only the expenses the defendant incurred to oppose those claims that were unreasonably
multiplicative and vexatious" (i.e., moving to amend after "the Court advised him that the
application would not be granted and warned him that Rule 11 sanctions might follow"), but not
for the initial sanctionable Complaint because the Court could not grant Rule 11 sanctions "[d]ue
to defendants’ technical failure to comply with the safe harbor provision”).


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  Other cases cited by Defendants are similarly unavailing, Chambers v. NASCO, 501 U.S. 32 (1991) was also decided
before Rule 11’s safe harbor provision and is distinguishable because much of the sanctionable conduct fell outside
of Rule 11.
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  Huebner v. Midland Credit Mgmt., Inc., 897 F.3d 42, 55 (2d Cir. 2018) (affirming § 1927 sanctions for "numerous
frivolous and vexatious actions" by an attorney, including making misrepresentations to the Court, seeking the Judge's
recusal after he pointed out the misrepresentations, changing his theory of the case midlitigation, and repeatedly filing
letters exceeding the Court's page limit and ignoring procedures set out in the Court's protective order).


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              d. Counsel Did Not Multiply Proceedings As Required By § 1927:
           28 U.S.C. § 1927 expressly limits sanctions to instances where an attorney “multiplies the
proceedings” in a case. In cases similar to this one, where defendants “essentially complain[] that
the plaintiff pursued a meritless lawsuit … not that plaintiff's counsel litigated the action in a way
that multiplied or delayed the proceedings" and the plaintiff "voluntarily discontinued the action
… it cannot be concluded that the plaintiff unnecessarily multiplied the proceedings or delayed the
litigation." Unite Here v. Cintas Corp., 500 F. Supp. 2d 332, 335–36 (S.D.N.Y. 2007); also,
Jimenez v. City of New York, 162 F. Supp. 3d 173, 183 (S.D.N.Y. 2015), aff'd in part, vacated in
part, 666 F. App’x 39 (2d Cir. 2016) (declining to impose sanctions under § 1927 when claims
were "voluntarily withdrawn by plaintiff's counsel" and describing that "[a] refusal to withdraw []
a claim [ultimately proven to be baseless] may be sanctionable behavior, but timely dropping
baseless claims, as Plaintiff's Counsel did here, is not."). Authority cited by Defendants on § 1927
sanctions support that more than the filing and withdrawal of a single complaint is required to
show multiplication of proceedings. See Pac. Elec. Wire & Cable Co., Ltd., 2005 WL 2036033, at
*6 (denying sanctions when Plaintiff filed a single complaint and withdrew it, and distinguishing
cases that awarded sanctions under § 1927 because those cases "involve[d] plaintiffs who
repeatedly asserted frivolous claims despite warnings from the Court that the claims were
groundless4”).
           These decisions align with the Second Circuit authority describing that the purpose of §
1927 is "to deter unnecessary delays in litigation" and avoid unreasonably prolonged litigation.
Int'l Brotherhood of Teamsters, 948 F.2d at 1345 (Mot. at 4). Here, Plaintiff's Counsel's only
purportedly sanctionable conduct was filing a Second Amended Complaint on Plaintiff’s behalf
and voluntarily discontinuing the action on Plaintiff’s behalf after Defendants filed their motion to
dismiss – which served to minimize, not extend, proceedings. Defendants have no colorable
argument that Plaintiff's Counsel delayed, extended, or multiplied the litigation, and thus, no legal
basis for seeking sanctions under 28 U.S.C. § 1927.
           Not to mention that Your Honor read the proposed SAC and permitted Plaintiff to file the
SAC. Never once did Your Honor indicate that the SAC was frivolous. Your Honor rejected
Zakarin's attempts to deny Plaintiff the opportunity to file the SAC. This fact will be analyzed in
more detail below.


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    It is important to note that the Court did not make any


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          e. Plaintiff Jones nor Counsel Acted In Bad Faith:
       Even if voluntarily dismissing a complaint in response to a motion to dismiss was
sanctionable under § 1927 or the Court’s inherent authority (it is not for the reasons described
above), these sanctions “may be imposed only for conduct undertaken in bad faith.” Wachtel
Masyr & Missry LLP v. Genger, 568 F. App’x 10 (2d Cir. 2014); see also Mot. at 4 (acknowledging
that "bad faith is the touchstone of an award under this statute"). The movant has the burden of
showing bad faith by clear evidence. Cap. Bridge Co., Ltd. v. IVL Techs. Ltd., No. 04 Civ. 4002,
2007 WL 3168327, at *9 (S.D.N.Y. October 26, 2007).
       In this case, there is absolutely no evidence that Plaintiff or its Counsel acted in bad faith
in bringing this lawsuit. (Blackburn Decl. ¶ 25). To the contrary, this lawsuit was instituted
because Defendants knowingly conducted business with Combs, whom they knew, or should have
known, was a violent, deceptive, morally flawed individual through past experiences where he
physically assaulted Defendant former executive Steve Stoute with a bottle of champagne and a
chair. (Blackburn Decl. ¶ 26). This lawsuit was not instituted for “some improper purpose,” but
rather, for the very legitimate purpose of recovering damages for Defendants’ reckless, self-
serving decision to enter into a “partnership” with Combs to “Develop love records.” (Blackburn
Decl. ¶ 27). It was reasonable for Plaintiff Jones, whose sole purpose is working with Combs for
the Love Album, to sue the UMG defendants for the harm he suffered throughout the process of
working on the Love Album.
       If the Plaintiff had intended to pursue this case in bad faith, he would have named every
record label executive from all the other record labels present at Chalice and Combs' home as a
Defendant, but he did not.
                 i. Second Circuit Assessment:
       The Second Circuit Court of Appeals has established a high bar when imposing sanctions
pursuant to purported “Bad Faith.” Eisemann v. Greene, 204 F.3d 393, 396-97 (2d Cir. 2000), the
Second Circuit interpreted the bad faith standard restrictively:

       To ensure . . . that fear of an award of attorney's fees against them will not deter persons
       with colorable claims from pursuing those claims, we have declined to uphold awards
       under the bad-faith exception absent both clear evidence that the challenged actions are
       entirely without color, and are taken for reasons of harassment or delay or other improper
       purposes and a high degree of specificity in the factual findings of the lower courts.




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Dow Chem. Pacific Ltd. v. Rascator Maritime S.A., 782 F.2d 329, 344 (2d Cir. 1986) (emphasis
added) (internal citations, quotation marks, and brackets omitted); see also Schlaifer Nance, 194
F.3d at 338 ("The Court's factual findings of bad faith must be characterized by a high degree of
specificity." (internal quotation marks omitted)); MacDraw, Inc. v. CIT Group Equip. Fin., 73
F.3d 1253, 1262 (2d. Cir. 1996) (vacating imposition of sanctions because the
District Court "engaged in no detailed consideration of what conduct by plaintiff's counsel
satisfied the bad faith requirement").
       In imposing sanctions in the instant case, the District Court found bad faith on the part
of Eisemann's Counsel. The Court stated that Eisemann's motion for reconsideration was the latest
manifestation of [her] Counsel's belief, displayed repeatedly throughout this case, that upon any
motion by his adversary, he has 'no choice' but to respond by interposing a similar motion of his
own. The inevitable effect of this tactic can only be to increase the burdens on the Court and all
Counsel for no proper purpose, as the record of this case amply demonstrates.
       The only other reason cited by the Court for the imposition of sanctions is the fact that
counsel "persisted" with his motion for reconsideration after he had been forewarned by the Judge's
law clerk during the telephone conference that Counsel's contentions were on their face
inappropriate for reconsideration. The Court stated that "this disregard of the applicable standards
for reconsideration, coupled with the patent invalidity of the legal arguments presented in the
plaintiff's motions, make clear that the motion was brought in bad faith."
       A District Court's imposition of sanctions is reviewed for abuse of discretion. See Schlaifer
Nance, 194 F.3d at 333. However, this standard of review “is not as simple as it may appear at first
blush." Id. Indeed, recently, we have observed that

       [ a] troublesome aspect of a trial court's power to impose sanctions, either as a result of a
       finding of contempt, pursuant to the Court's inherent power, or under a variety of rules . . .
       is that the trial court may act as accuser, fact finder and sentencing Judge, not subject to
       restrictions of any procedural code and at times not limited by any rule of law governing
       the severity of sanctions that may be imposed.

Mackler Prods. v. Cohen, 146 F.3d 126, 128 (2d Cir. 1998). Thus, although we are mindful that
"the decision to impose sanctions is uniquely within the province of a district court, we
nevertheless need to ensure that any such decision is made with restraint and discretion." Schlaifer
Nance, 194 F.3d at 334.



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          The District Court did not make sufficiently specific factual findings to support its
conclusion that Eisemann's motion for reconsideration, or any other motion filed in the course of
this litigation, was "entirely without color and . . . taken for reasons of harassment or delay or for
other improper purposes." Dow Chem. Pacific Ltd., 782 F.2d at 344. Instead, the Court's
conclusory determination that Eisemann's motion was filed in bad faith rested almost entirely on
its lack of merit. It is sometimes possible to infer bad faith from the meritlessness of a
motion. See Schlaifer Nance, 194 F.3d at 338. But absent greater specificity from the
District Court, the failure to meet the standards of Local Rule 6.3--a proper basis for denial of her
motion for reconsideration--is not, without more, a proper basis for the imposition of sanctions on
Eisemann's Counsel.
          Moreover, imposing sanctions, in part, for failing to heed the Court's "advice" as to whether
a motion is appropriate amounts to establishing an unacceptable requirement that parties obtain
the Court's prior authorization before filing a motion. Although we have recognized that "it is
within the judge's discretion to hold a pre-motion conference for the purpose of persuading
a party not to file a perceived meritless motion," 4 Milltex Indus. Corp. v. Jacquard Lace Co., 55
F.3d 34, 39 (2d Cir. 1995), we have made it clear that "the judge may not require that the court's
permission be secured at such a conference before a party may file the motion." Milltex, 55 F.3d
at 39; see also MacDraw, 73 F.3d at 1256 n.2 (same); Richardson, 825 F.2d 647 at 652 ("Absent
extraordinary       circumstances,      .    .    .    a court has    no     power      to     prevent
a party from filing pleadings, motions or appeals authorized by the Federal Rules of Civil
Procedure.").
          In the circumstances presented, we are required to conclude that the District Court's
determination of bad faith and its imposition of sanctions on Eisemann's Counsel was an abuse of
discretion. Accordingly, the District Court's order of August 27, 1998, is reversed insofar as it
imposed sanctions on Eisemann's Counsel. Eisemann v. Greene, 204 F.3d 393, 396-97 (2d Cir.
2000). Unlike the Court in Eisemann, Your Honor did not say Plaintiffs Second Amended
Complaint (“SAC”) was baseless. In fact, Your Honor denied Zakarins attempt at preventing its
filing.
             f. Plaintiff’s Complaint Was Well-Founded:
          Lacking the ability to assert any particularized allegations of bad faith whatsoever,
Defendants claim that the Court can infer bad faith from the pleadings. Not so. “Bad faith may be



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inferred ‘only if the actions are so completely without merit as to require the conclusion that they
must have been undertaken for some improper purpose such as delay.” Schlaifer, 194 F.3d at 336.
       The Plaintiff's claims were far from "completely without merit." To the contrary, the
Complaint's merit claims were well-founded and based on a reasonable investigation into the facts
and law. (Blackburn Decl. ¶ 29). The UMG defendants may not like being tied to Sean Combs,
who is a confirmed woman beater, accused sex trafficker, drugger, and rapist, but they made the
conscious decision to partner with and employ him on multiple occasions throughout the years
despite Combs' well-documented indiscretions. (Blackburn Decl. ¶ 30).
       To date, there have been a total of 8 civil lawsuits filed against Mr. Combs with eerily
similar accusations. (Blackburn Decl. ¶ 32). UMG and/or its subsidiaries have been named co-
defendants in several of them. (Blackburn Decl. ¶ 33). According to Mr. Jones, he personally
witnessed Combs engage in sex trafficking and RICO activities. (Jones Decl. ¶ 45-53). These
claims were accompanied by screenshots of videos, text messages, uber receipts, and photos of
Combs drug mule, Chief of Staff, and other employees transporting Combs drugs in their black
pouches. (Jones Decl. ¶ 78-89). Presumably, this was the same pouch Combs employee Brendan
Paul had on his person when law enforcement arrested him in Miami Airport and located cocaine
and other illegal controlled substances on his person. (Blackburn Decl. ¶ 39).
       The UMG defendants were named as co-defendants based on what Mr. Jones personally
saw, experienced, and was told by Combs. (Jones Decl. ¶ 45-53). Mr. Blackburn corroborated
Mr. Jones’ claims through conversations with witnesses who attended the Club Love parties at
Chalice Recording Studios, at Combs' home in Miami, Los Angeles, and on a Yacht in the Virgin
Islands. (Blackburn Decl. ¶ 43-44). These individuals provided details of what they personally
witnessed and experienced. (Blackburn Decl. ¶ 45). Some of them went so far as to provide the
names of producers, artists, record label executives, and entertainers. (Blackburn Decl. ¶ 46). Mr.
Jones did not personally identify who was also in attendance at these parties. (Jones Decl. ¶ 45-
53). In the interest of not outing these attendees and witnesses who are not party to this action,
Plaintiff has purposely not named them. If the Court requires these disclosures, Plaintiff will
happily make them In-Camera. As the Court could imagine, these individuals are deathly afraid
of the backlash and retaliation they would be exposed to if their identities are revealed. (Blackburn
Decl. ¶ 48).




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       These individuals are record label owners, founders, and executives who Mr. Jones knew
personally and who were present at the parties. (Jones Decl. ¶ 45-53). Mr. Jones intentionally did
not disclose the identities of these companies and individuals because they were not business
partners or employers of Combs and Love Records. (Jones Decl. ¶ 45-53).
       Former Defendant and CEO of Motown Records Ethiopia Habtemariam (“Hab”) admitted
in her declaration that she partied at Sean Combs’ home but conveniently denied seeing sex
workers, minors, or drugs present. (Blackburn Decl. ¶ 59). She also conveniently denies partying
at his home after September 2022 (Blackburn Decl. ¶ 60). This is an odd claim, especially since
she went out of her way to promote and celebrate the partnership (her words) with Combs to help
“establish Love Records” and the “Love Album.” (Blackburn Decl. ¶ 61). It is implausible to
believe Hab would attend a house party for the Combs BET Lifetime Achievement award, yet she
would not attend a writer's camp and club Love at Chalice Recording Studios, which had over 150
songwriters, producers, record label executives, and major recording artists present. (Blackburn
Decl. ¶ 62). It is implausible to believe that Hab, with the consent of her boss Grainge, would fork
over 1.3 million dollars to Combs for the creation of the Love Album and the development of Love
Records, yet Hab conveniently did not attend any of the Club Love events and Chalice Recording
Studios from September 2022 until Hab purported forced termination from UMG in November
2022. (Blackburn Decl. ¶ 63).
       Plaintiff Jones swore under penalty of perjury that he saw Hab and Grainge at several
events at Combs’s home and at Chalice Recording Studios. (Jones Decl. ¶ 78). Plaintiff Jones
also declared that he did not personally meet Hab and Grainge at any of these events because
Combs was using a meeting or introduction to Hab and Grainge as a treat or something of value
that would be potentially life-changing for someone in Plaintiff’s shoes. (Jones Decl. ¶ 78). Habs'
status as CEO of Motown Records held a lot of value, and an introduction from Combs could have
had a life-changing impact on a producer like Mr. Jones, who was trying to transition from Gospel
music to Rhythm and Blues. (Jones Decl. ¶ 2). Historically, Motown Records is the mecca of
black pop culture. From its inception in the 1960s and 70s, Motown Records provided the
soundtrack to the civil rights movement in the United States. Mr. Jones’ grandparents were
preachers and involved in the civil rights movement in the 1960s and 70’s.
       In the face of this history and knowing that Combs was the gatekeeper who had the ability
to make the introduction if Mr. Jones followed his orders, Mr. Jones did not approach Hab and



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Grainge when he saw them at Combs’s parties. (Jones Decl. ¶ 78). Combs informed Jones that
an introduction to Hab and Grainge would be forthcoming if Combs felt that Plaintiff Jones was
worthy of an introduction. (Jones Decl. ¶ 78). A person in Plaintiff Jones’ position who saw the
likes of Chris Brown, D.J Kahlad, Rick Ross, French Montana, and Amy Schumer parading in and
out of Mr. Combs’ home, Yacht, and Club Love parties, it was reasonable for him to believe that
Combs had the power to make or break his career. (Jones Decl. ¶ 78).
       If Plaintiff Jones was acting in bad faith, he could have forced the issue by filing a motion
for limited discovery. As detailed above, absent a showing of clear merit lessness, the Court would
have granted the motion. He could have subpoenaed Hab and Grainge's phone records and used
their cellphone data to see if they were at Chalice or Combs' residence at any time between
September 2022 to February 2023. (Blackburn Decl. ¶ 64). Despite what he personally saw and
what he discussed with Combs concerning the identities of the individual UMG defendants,
Plaintiff Jones decided to voluntarily dismiss Hab and Grainge from the case based solely on their
denials. Jones acknowledged that he was drugged by Combs on many occasions, and absent
physical proof, he did not feel comfortable pressing the issue if Hab and Grainge declared under
penalty of perjury that they were not present.
       It is clear from their motion for sanctions the defendants are upset that they were associated
with Combs and his deplorable behavior. But Defendants are solely responsible for the stench
they must now wear for repeatedly deciding to be business partners with the likes of Combs. As
the old proverb says, “Tell me who your friends are, and I will tell you who you are.”
       Defendants are trying to impose a ridiculous standard on plaintiff Jones, essentially
demanding that he teleport back in time to the date Motown “signed” their contract with Combs
and Love Records to see the making and signing of the agreement. As Plaintiff swore to in his
declaration, he was present when cash was delivered to Combs' house and stashed in an inner
closet located in Combs' bedroom closet. (Jones Decl. ¶ 80-81). Combs personally informed
Plaintiff that UMG defendants sent him that money. Plaintiff Jones took Combs at his word, as he
had no reason to believe otherwise. It’s not as if the individuals who delivered the money showed
up wearing UMG paraphernalia while Shuckin' and jivin' and singing a jingle so the world knows
that UMG was delivering money. Plaintiff Jones also witnessed gang members and other
questionable individuals at Combs’ home picking up money and guns from Combs. Plaintiff Jones
did not attribute that to the UMG defendants.



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       Defendants also clutch their pearls over the fact that Plaintiff Jones decided to believe
Combs when he stated that UMG paid for the writer's camp at Chalice, where there was an influx
of sex workers, drugs, and underage girls. (Jones Decl. ¶ 97). Combs made it very clear that he
never used his money to pay for anything. (Jones Decl. ¶ 95). The plaintiff has videos, photos,
uber receipts, and text messages from many of the sex workers. (Jones Decl. ¶ 43). In the SAC,
the Plaintiff included a chart with the last two digits and dates of appearance for at least eight sex
workers. (Jones Decl. ¶ 43). Defendants wanted Mr. Blackburn to look past all of this irrefutable
evidence in Plaintiff Jones' possession and somehow disbelieve Plaintiff's claim that Combs
personally told him the money, which Plaintiff saw with his own two eyes, came from UMG.
       What's even more foolish about Defendant's motion is the fact that they expect Plaintiff,
who was not privy to the heavily redacted sham agreement between Combs, Love Records, and
Motown, to know that they had a purported distribution agreement and not a partnership with
Combs, and Love Records. This is despite Motown and Hab's public campaign bragging about
their PARTNERSHIP with Combs. (Blackburn Decl. ¶ 66). If Defendants did not want the public
to believe they have a partnership with Combs, then maybe they should not go on a press tour
calling it a partnership. (Blackburn Decl. ¶ 67).
       Any person with a modicum of commonsense can see that the Defendant’s bedwetting is
disingenuous. Before November 16, 2023 (the date of Cassie Ventura’s lawsuit), Defendants were
willing to crawl over hot coals to touch the hem of Comb’s garment. (Blackburn Decl. ¶ 68).
They knew Combs' success as a hip hop and R&B executive, absent that he had not released a hit
record in decades, could mean instant success for UMG. They did not care that Combs shot
Natania Griffin in the face in a nightclub in 1999. (Blackburn Decl. ¶ 69). UMG did not care that
Combs beat up one of their executives, Steve Stoute, with a bottle of champagne and a chair in
1999. (Blackburn Decl. ¶ 70). UMG did not care that Combs assaulted his son Justin Combs'
college football coach at UCLA in 2015 with a kettlebell. (Blackburn Decl. ¶ 71). UMG did not
care that Combs was accused in 2019 of stomping a baby out of the stomach of his ex-girlfriend,
Gina Huynh, and forcing her to have multiple abortions against her will. (Blackburn Decl. ¶ 72).
None of these deplorable public acts by Combs mattered to UMG. They were willing to look past
it all in order to marry themselves to Combs because Combs was potentially good for UMGs
bottom line. (Blackburn Decl. ¶ 73).




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       It wasn't until Cassie Ventura filed her civil suit detailing Combs' sex trafficking that UMG
decided to distance itself from him. Now, suddenly, they did not have a partnership. Suddenly, it
was a simple distribution agreement, nothing more, nothing less5. UMG and Zakarin’s about-face
can be reduced to, ‘please don’t look at all of our public statements from May of 2022, when it
was cool to be affiliated with Combs; we want the public to rely on the terms of a purported
agreement that was never made public until Mr. Jones sued us.’
       Even the UMG defendant’s last-minute self-serving waiving of their contract with Combs
did nothing to free them of their questionable self-serving decision to partner with Combs.
(Blackburn Decl. ¶ 74-75). This was evident from the fact that they went so far as to provide
Combs with over $1.3 million dollars of free money for work on an album that was never done.
(Blackburn Decl. ¶ 76). We know that no work was done on the album because Plaintiff has every
version of every song, released and unreleased, for the Love Album.            The tracks are all
timestamped, and none of the tracks predates the signature on the sham agreement between the
UMG defendants, Love Records, and Combs.
       Even more embarrassing for UMG is the fact that Combs did not adhere to any of the
provisions in the sham contract. (Blackburn Decl. ¶ 77). Section 4.04(a) required Combs to get
pre-approval before hiring any producers, and the producers were required to sign a contract
approved by Motown. (Blackburn Decl. ¶ 78). The Plaintiff was a producer. (Jones Decl. ¶ 71).
He produced nine songs and played instruments on several others. (Jones Decl. ¶ 4). He was never
paid for any of his work and was never provided a contract, much less a contract approved by
Motown. (Jones Decl. ¶ 95).
       The final and probably most troubling revelation of the Combs UMG sham agreement is
that Combs did not sign the agreement! (Blackburn Decl. ¶ 79). The Plaintiff has over 40 examples
of Combs’ signature, and compared to the signature on the sham agreement, Combs was not the
signatory of the contract. (Blackburn Decl. ¶ 9). This point was raised to Zakarin. (Blackburn
Decl. ¶ 80). Blackburn asked Zakarin to provide the certification page from DocuSign so we can
confirm Combs’ location on the date of the signature. (Blackburn Decl. ¶ 81). The DocuSign
document has an IP address that can determine where the document was sent from, where the
person who opened it was located, and where the person who reviewed and signed it was located.
(Blackburn Decl. ¶ 82). It was a simple ask that any person with integrity would be willing to

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share. True to form, Zakarin inexplicably denied the request. (Blackburn Decl. ¶ 83). Even though
he presented the sham contract to the Court. (Blackburn Decl. ¶ 84). Mr. Blackburn shared his
concerns about the validity of Combs' signature and informed him that if Combs failed to sign the
agreement, he and UMG were general business partners (as defined by New York State law), as
Plaintiff claimed in his SAC. (Blackburn Decl. ¶ 85). Of course, this fact meant nothing to UMG,
as Zakarin stated that the contract existed as long as there was substantial performance. (Blackburn
Decl. ¶ 86). As detailed above, Combs did not substantially perform any part of the sham contract.
(Blackburn Decl. ¶ 87). In fact, Combs did not perform his duties in the contract at all. This
contract was a sham, and it would not be surprising if it is eventually discovered the $1.3 million
was a cover to launder money, as UMG inexplicably gave Combs $1.3 million unchecked, and
Combs failed to secure the approvals and contracts before hiring Plaintiff as a producer.
       In fact, UMG representative and legal counsel Martha Brathwaite admitted to taking
Combs, attorney Kenneth Meiselas’ word for it. (Blackburn Decl. ¶ 88). Buried in footnote 2 of
Martha Brathwaite’s declaration, she says,
       “The requirement that these costs be documented is a standard provision of our agreements.
       However, because we have had many negotiations with Mr. Meiselas and his firm, we
       accepted his representation that the actual costs incurred were far greater than the $1.3
       million. Moreover, since we ended up terminating the license agreement and did not
       distribute the album, there was no reason for us to do a full accounting of the costs both
       before and after the license agreement, and we did not do one.” (Blackburn Decl. ¶ 89).

       UMG was negligent. Plaintiff Jones was correct when he said they gave Combs unchecked
money to do whatever he wanted to do. (Blackburn Decl. ¶ 91). Plaintiff Jones was correct when
he said, that Combs told him that he never spends his money on anything. (Blackburn Decl. ¶ 92).
Well, in this instance, since UMG was admittedly willfully negligent in confirming that Combs
had incurred the pre-contract expenses, as well as the post-contract expenses, they gave him
millions of dollars, which was used to pay for drugs and sex workers. (Blackburn Decl. ¶ 93).
       A claim is colorable and, thus, not sanctionable “when it has some legal and factual support,
considered in light of the reasonable beliefs of the individual making the claim.” Adkins v. Gen.
Motors Acceptance Corp., 479 F. App’x 386, 387 (2d Cir. 2012); see also Schlaifer, 194 F.3d at
337 (“The question is whether a reasonable attorney … could have concluded that facts supporting
the claim might be established, not whether such facts actually had been established." (quotation




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marks and citation omitted)). The Plaintiff's claims here were colorable, grounded in fact and law,
and did not imply an improper purpose.

III.   Plaintiff Had Objectively Reasonable Grounds for Believing That His Claims were
       Meritorious:
       Defendants assert in conclusory fashion that Plaintiff’s claims lacked merit, without
addressing a single allegation from Plaintiff’s Complaint or providing any other explanation of
this purported lack of merit, instead handwaving towards the motion to dismiss. The Plaintiff had
(and has) objectively reasonable grounds for its claims, which are supported by law, fact, and
corroborating witnesses.
          a. Plaintiffs Respondeat Superior Liability Under RICO:
       The Southern District of New York imposes RICO liability on employers. In order to
demonstrate that a corporation is directly involved or central to the RICO scheme alleged,
Plaintiffs must show that a corporate officer or director had knowledge of or was recklessly
indifferent toward the unlawful activity. See Amendolare, 747 F. Supp. at 169; Laro, 866 F. Supp.
at 140. Even upon such a finding, other factors, including the number of high-level employees
involved, their degree of participation in the alleged scheme, as well as the extent of the
corporation's benefit from the scheme, should then be considered before corporate liability is
properly attributed. See Amendolare, 747 F. Supp. at 169; Laro, 866 F. Supp. at 140; see
also Dubai Islamic Bank v. Citibank, N.A., 126 F. Supp. 2d 659, 671 (S.D.N.Y. 2000).
       Some courts in this Circuit have imposed RICO liability on a corporation for the acts of its
employees based, at least in part, on whether the corporation itself benefitted from the
scheme. See Center Cadillac, Inc. v. Bank Leumi Trust Co. of New York, 808 F. Supp. 213, 236
(S.D.N.Y. 1992) ("Where the employer allegedly benefits from the predicate acts, respondeat
superior liability under RICO is appropriate."); Connors v. Lexington Ins. Co., 666 F. Supp. 434,
453 (E.D.N.Y. 1987) ("§ 1962(c) liability may be appropriate so long as the employer/enterprise
actually benefitted from the [] predicate acts.") This approach was adopted by the Seventh Circuit
in D & S Auto Parts Inc. v. Schwartz, 838 F.2d 964, 967 (7th Cir. 1988). However, even under
the analysis in D & S Auto Parts, the Seventh Circuit held that "an employee violating RICO
without his employer's knowledge is highly unlikely to be acting for his employer's benefit," 838
F.2d at 967, thereby incorporating the presumption that for a corporation to be held liable under
RICO, an employer will most likely be aware of the wrongdoing of its employee.



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       Courts have also focused on principles of agency in determining the appropriateness of
corporate vicarious liability in the RICO context. Connors, 666 F. Supp. at 453; Bernstein v. IDT
Corp., 582 F. Supp. 1079, 1083-84 (D. Del. 1984) ("When conduct is proscribed by a federal
statute and civil liability for that conduct is explicitly or implicitly imposed, the normal rules of
agency law apply in the absence of some indication that Congress had a contrary intent."); see
also Amendolare, 747 F. Supp. at 168-171 (agency one of a number of principles considered in
determining vicarious liability); Kovian, 100 F. Supp. 2d at 133 (finding that high-ranking officers
of a bank could not implicate the Bank's liability because they were acting outside the scope of
their employment). However, under agency principles, for liability to be attributed to the
corporation, an agent must be acting within the scope of his employment, typically meaning that
the corporation must have been aware of the scheme or artifice to defraud. Kovian, 100 F. Supp.
2d at 133; see also Restatement (Second) of Agency § 219 (1958). USA Certified Merchs., LLC
v. Koebel, 262 F. Supp. 2d 319, 328-29 (S.D.N.Y. 2003).
       Here, it was reasonable for Counsel, in the face of all of the evidence Plaintiff possesses,
to substantiate the imposition of a claim for RICO. The Combs Enterprises' participation in the
RICO Enterprise to believe the claims Plaintiff made concerning the UMG Defendants.
(Blackburn Decl. ¶ 53-54). Mr. Blackburn relied on the documents and sworn statement from
Plaintiff and spoke with others who witnessed many of the things Plaintiff claimed. (Blackburn
Decl. ¶ 55). Counsel also relied upon legal research that states employers are vicariously liable for
the actions of their employees under the Federal Rico statute. (Blackburn Decl. ¶ 56). Counsel
also relied on public statements from the UMG defendants celebrating the signing of Combs as an
artist. (Blackburn Decl. ¶ 57). The Combs' signing as an artist was separate from the public claims
they made celebrating the establishment of Love Records. (Blackburn Decl. ¶ 58).
       As previously stated, the Defendants did not require Combs and Love Records to adhere
to the terms of their contract. They were complicit, sloppy, and grossly negligent. They gave
Combs $1.3 million upon signing the ERA without ever receiving an invoice or proof of what he
used that money for.
       Defendants did not have any intention to enforce the terms of ERA. Section 4.04(a) of this
sham ERA states, “Subject to the terms of this Article 4, you shall engage each producer pursuant
to a written producer agreement containing material terms approved by Motown…”. Plaintiff
produced nine songs on the Love Album – Off the Grid. (Jones Decl. ¶ 4). The Plaintiff was not



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compensated for his work. (Jones Decl. ¶ 95). Additionally, Plaintiff did not have a written
agreement with Love Records or Combs as required by section 4.04(a) of the sham ERA.
Defendants did not contact Mr. Combs or Love Records to obtain a copy of the Plaintiff's signed
producer agreement. If they had done so, they would have discovered that Plaintiffs' work on the
Love Album – Off the Grid violated section 4.04(b) of the ERA.

            b. The Defendants Are Partners In The Combs RICO Enterprise:
         As much as the Defendants are hoping to distance themselves from Combs and Love
Records, they are equally as liable for all of the crimes he committed throughout the duration of
ERA. Defendants intentionally redacted essential sections of the ERA to hide the details of how
they agreed to share profits, losses, ownership of the partnership assets, liability to creditors,
compensation for the defendants, and loans to the organization.
         Management and control: As detailed in section eight of the ERA, the Defendants had
dominion and control over the artists, producers, and musicians for the Love album. According to
the ERA, the Defendants were the plaintiffs' attorneys, in fact, and had the power to execute
documents on the Plaintiff's behalf and to control his artistry.
         See DeFalco v. Bernas, 244 F.3d 286, 306 (2d Cir. 2001) (to state a civil claim under 18
U.S.C. 1962(c), a plaintiff must allege that a defendant participated in "(1) conduct (2) of an
enterprise (3) through a pattern (4) of racketeering activity") (quoting Sedima, S.P.R.L. v. Imrex
Co., 473 U.S. 479, 496, 105 S. Ct. 3275, 87 L. Ed. 2d 346 (1985)). To participate in a racketeering
enterprise under the relevant provisions of RICO, a defendant must "direct the enterprise's affairs."
Reves v. Ernst & Young, 507 U.S. 170, 177, 180, 113 S. Ct. 1163, 122 L. Ed. 2d 525 (1993).
While a defendant need not play the "predominant" part in the operation of the enterprise, it must
"exert" some "control" over it. Dubai Islamic Bank v. Citibank, N.A., 256 F. Supp. 2d 158, 164
(S.D.N.Y. 2003). Doe v. Deutsche Bank Aktiengesellschaft, 671 F. Supp. 3d 387, 412 (S.D.N.Y.
2023).
         Here, if the defendants' sham ERA is to be trusted, the defendants exerted some control
over the Combs RICO enterprise through sections 4.01, 4.02, and 4.04, which all required Combs
and/or Love Records to provide notification, obtain consultation, and/or obtain approval from the
Defendants before designating individual producers, engineers/mixers, and musicians; submit a
written budget listing for its approval; and obtain written producer agreements. (Jones Decl. ¶ 95).
            c. Plaintiffs Trafficking Victims Protection Act Claims In The SAC:


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       Defendants erroneously claim no private right of action for an obstruction claim under the
TVPA. The Defendant's position contradicts well-settled law in this Court. In Doe v. Deutsche
Bank Aktiengesellschaft, the defendants argue that the TVPA does not provide a private right of
action for obstruction. Judge Rakoff disagreed.
In his opinion, Judge Rakoff held in the relevant part,

       “As an initial matter, defendants argue that JPM Jane Doe and DB Jane Doe have no right
       to assert obstruction claims. The TVPA's "civil remedy," 18 U.S.C. § 1595(a), only
       provides a right of action to a "victim" of a violation of the TVPA. 18 U.S.C. § 1595(a).
       The defendants argue that JPM Jane Doe and DB Jane Doe are not the victims of any
       obstruction of an enforcement effort. The only victim of such an action, defendants say, is
       the government that makes such an effort. See Doe v. Fitzgerald, 2022 U.S. Dist. LEXIS
       8194, 2022 WL 425016, at *4 (C.D. Cal. January 6, 2022) ("The 'victim' of the obstruction
       of enforcement set out in section 1591(d) is the state or federal government[.]"). Thus,
       defendants say, the Jane Does do not have a right to assert their obstruction claims.

       The statute cannot be read in this cramped fashion. While 18 U.S.C. § 1595(a) does not
define "victim," a different section of the federal criminal code -- which establishes a criminal
procedure that is generally applicable across federal crimes -- defines a "crime victim" as "a person
directly and proximately harmed as a result of the commission of a Federal offense." 18 U.S.C. §
3771(e)(2)(A); see also 34 U.S.C. § 20141(e)(2) (defining a victim as "a person that has suffered
direct physical, emotional, or pecuniary harm as a result of the commission of a crime"). This
definition accords with ordinary usage, which recognizes a victim as "one that is injured,
destroyed, or sacrificed under any of various conditions." Victim, Merriam-Webster's Collegiate
Dictionary (10th ed.). Thus, the "victims" of those who obstruct the enforcement of the TVPA
include not just the government but also those who suffered harm because the government's
enforcement efforts were hindered.
Doe v. Deutsche Bank Aktiengesellschaft, 671 F. Supp. 3d 387, 409 (S.D.N.Y. 2023)

       The Doe v. Deutsche Bank Aktiengesellschaft standard applies here. UMG attempts to
downplay its role in Combs' sex trafficking operation by stating that Plaintiff has no knowledge of
their tax filings or reporting requirements for Combs and Love Records.
       The plaintiffs' knowledge stemmed from Combs' statements that only poor people pay
taxes, meaning he pays little to no taxes. (Jones Decl. ¶ 99(e)). In addition to Combs' statements,
Plaintiff was not compensated for his nearly thirteen months of work on the Love Album. (Jones



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Decl. ¶ 82). Defendants would know this if they did their due diligence as outlined in their sham
contract and ensured that the Plaintiff producer agreement was signed as required by section
4.04(a). (Blackburn Decl. ¶ 78). Additionally, the Defendants would have been on notice if they
required Combs to provide itemized Love Album recording invoices. They did not.

           d. Defendants Recklessly Disregarded The Existence Of Sex Trafficking:

       As detailed in the Plaintiff's Declaration, executives from the Defendants organization
visited Combs' home, Chalice Recording Studios, and Club Love listening parties. (Jones Decl. ¶
39, 62, 63, and 78). In the studios, there were sex workers present. (Jones Decl. ¶ 96-96). As
detailed above, the Plaintiff has videos and photos evidencing this. (Jones Decl. ¶ 97). The
Plaintiff also has Uber receipts and text messages from several sex workers Combs requested to
be present during the recording sessions for the Love Album. (Jones Decl. ¶ 43). As stated earlier,
Plaintiff was not compensated for his work on the Love Album. (Jones Decl. ¶ 95).
       There were other producers and engineers present at the studios who were not paid for the
work they did on the Love Album. (Jones Decl. ¶ 95). Yet, Plaintiff can show that the sex workers
that were present in the recording studios, Love Album listening parties, Club Love parties, and
Combs house parties were all paid. (Jones Decl. ¶ 96). According to the Defendants' sham contract,
Combs and Love Records were required to get approval from the defendants before hiring the
album’s producers. The defendants also had access to all recording sessions associated with
creating the Love album.
       Plaintiff personally saw executives from the Defendant record label present at the recording
sessions during the times that sex workers were present. (Jones Decl. ¶ 39, 62, 63, and 78).
According to the Plaintiff's Declaration, Combs informed him that those individuals were there
scouting for talent. (Jones Decl. ¶ 39, 62, 63, and 78). Defendants either knew or should have
known through their authorized agents that Combs was engaging in sex trafficking, and they
benefited from it.
       Section 1595 allows for civil liability against facilitators who benefit from what they knew
or should have known is a sex trafficking venture. As a remedial statute, we construe the Act
liberally Where, as here, a statute is "remedial," it "should be liberally construed." We cannot read
out the language of section 1595 imposing civil liability against a person who "knowingly benefits,
financially or by receiving anything of value from participation in a venture which that person



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knew or should have known has engaged in an act in violation of this chapter." A.B. v. Marriott
Int'l, Inc., 455 F. Supp. 3d 171, 189 (E.D. Pa. 2020).
       Plaintiffs SAC was not filed in bad faith. As detailed above, Plaintiff had a plausible reason
to believe that UMG funded and profited from Combs' sex trafficking enterprise based on what he
experienced as a sexual assault survivor and unpaid producer. Not to mention that Plaintiff had
no reason to disbelieve Combs as he lived with him for 13 months, leaving in November of 2023.
(Jones Decl. ¶ 4). The information Plaintiff had at the time, the law detailed above, and the research
Counsel Blackburn conducted led Plaintiffs to reasonably believe he had a viable cause of action
under the TVPA.

IV.    UMGs Pandering To Court Falls Short:
       To pander to Your Honor, Zakarin scrummaged through pacer in search of any case where
Your Honor imposed sanctions in hopes that whatever case he found would curry favor with the
Court. Unfortunately, they only came up with Craig v. UMG Recordings, Inc., 380 F. Supp. 3d
324, 339 (S.D.N.Y. 2019). Aside from the obvious and shameless pandering to Your Honor, Craig
is not analogous to this case. In Craig, Your Honor sanctioned the notorious Richard Liebowitz
for filing a meritless motion to disqualify an expert "[w]ith the full knowledge" that a necessary
element of the motion was lacking. Craig v. UMG Recordings, Inc., 380 F. Supp. 3d 324, 339
(S.D.N.Y. 2019), reconsideration denied, 2019 U.S. Dist. LEXIS 113771, 2019 WL 2992043. On
that basis, Your Honor was able to infer that Liebowitz was behaving in bad faith. Id. Here,
Plaintiff did not file a meritless motion. The second amended complaint was reviewed by Your
Honor, and the Court granted permission for Plaintiff to file it.
       Katzman v. Victoria's Secret Catalogue, 167 F.R.D. 649, 659 (S.D.N.Y. 1996): In a clear
display of bad faith, Zakarin relies on Katzman, a case that imposed Rule 11 Sanctions, as opposed
to sanctions pursuant to § 1927 or the Court’s inherent powers. As stated above, pursuant to an
implied understanding, Plaintiff voluntarily dismissed the second amended Complaint with
prejudice before the expiration of the 21-day safe harbor rule in reliance on Zakarin’s April 26,
2024, email. As detailed above, the judges in this District have held that it would be improper to
sanction Plaintiffs and counsel who adhere to the 21-day safe harbor rule.
       In their motion papers, Zakarin jumps through hoops to rewrite history. On April 9, 2024,
Your Honor held a hearing. (Blackburn Decl. ¶ 21). During that hearing, Your Honor reviewed




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      the Plaintiff's proposed SAC and challenged both party's positions concerning the filing of the
      Complaint.
             After nearly 30 minutes, Zakarin failed to persuade the Court to deny Plaintiffs the right to
      file the proposed second amended Complaint. (Blackburn Decl. ¶ 22). Your Honor saw right
      through Zakarins gamesmanship when the Court challenged Zaharins basis for objecting to the
      Plaintiffs filing the SAC when the Court correctly noted that the SAC was in response to a request
      Zakarin made pursuant to his March 4, 2024, letter. (Jones Decl. ¶ 23). In rejecting Zakarin’s
      arguments, Your Honor acknowledged that the second amended Complaint essentially complied
      with most of the demands Zakarin made in his March 4, 2024, letter, absent his request to have
      Plaintiff dismiss the Defendants out of the case.
             If Your Honor believed that Plaintiff did not have a meritorious claim and that filing the
      SAC would be futile, as Zakarin misleadingly states, the Court would have denied Plaintiff's
      request to file the SAC. Your Honor is no stranger to denying amendment requests, as evidenced
      by the following cases:


Case Name                                       Judge Oetkens Opinion
In re To, No. 17-CV-2987 (JPO), 2022 U.S. Dist. Under New York law, a plaintiff must allege an
LEXIS 83767, at *36 (S.D.N.Y. May 9, 2022)      underlying actionable tort that was the subject of the
                                                conspiracy. Rusyniak v. Gensini, 629 F. Supp. 2d 203,
                                                226 (N.D.N.Y. 2009). The alleged underlying tort for
                                                the Plaintiffs' conspiracy claim is S&P's publication of
                                                its withdrawal notice. Having concluded that the
                                                Plaintiffs failed to state a claim that the withdrawal
                                                notice was fraudulent, the Court accordingly denies
                                                the Plaintiffs leave to amend their Complaint with a
                                                conspiracy claim.




Aviles v. S&P Glob., Inc., Nos. 17-CV-2987 (JPO) The company did not benefit from the negotiated
(KHP), 17-CV-6087 (JPO) (KHP), 2022 U.S. Dist. settlement agreement—rather, it was rendered
LEXIS 29896, at *64-65 (S.D.N.Y. Feb. 18, 2022)  insolvent. Accordingly, Judge Oetken found that the
                                                 allegations in the Complaint were sufficient to render
                                                 plausible that the adverse interest exception to the in
                                                 pari delicto doctrine applied. See Aviles v. S&P Glob.,
                                                 Inc., 2020 U.S. Dist. LEXIS 61095, 2020 WL
                                                 1689405, at *3 (S.D.N.Y. Apr. 6, 2020). In contrast,
                                                 Plaintiffs here allege that the company benefitted from


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                                                 the alleged fraud.        Accordingly, the Plaintiffs'
                                                 conspiracy claims are futile.
Perez v. De La Cruz, No. 09 CV 0264 (JPO) (MHD), As for the timing of the Plaintiff's application, it was
2013 U.S. Dist. LEXIS 83557, at *14-15 (S.D.N.Y. made well after the filing of the defendants' Rule 56
Feb. 20, 2013)                                   motion and long after the close of the discovery period.
                                                 In comparable circumstances, the Second Circuit has
                                                 upheld the denial of a motion to amend where the party
                                                 "waited more than three years to seek an amendment,
                                                 and did so only after confronted with a motion for
                                                 summary judgment." City of New York v. Group
                                                 Health Inc., 649 F.3d 151, 158 (2d Cir. 2011). See
                                                 also Longman v. Wachovia Bank, N.A., 702 F.3d 148,
                                                 151 (2d Cir. 2012). That is precisely the case here. In
                                                 sum, Plaintiff's application to amend his Complaint is
                                                 denied.

       V.      The Court Should Exercise Its Discretion And Require Defendants and their Counsel
               to Bear Plaintiff’s Costs and Fees for Defending Against This Motion:

               Zakarin's application for sanctions in this case is baseless for the reasons described herein.
      Unlike Plaintiff and its Counsel, whose conduct has been objectively reasonable throughout this
      litigation, the UMG Defendants and Zakarin vexatiously extended proceedings by engaging in
      deception to seek sanctions without proper grounds. Throughout this litigation, Zakarin has
      consistently touted his nearly “50 years” of legal experience as if it grants him an automatic pass
      to engage in unethical gamesmanship and file a baseless retaliatory motion for sanctions in bad
      faith.
               Plaintiff respectfully requests that the Court consider exercising its discretion by requiring
      Defendants and their Counsel to reimburse Plaintiff for the fees and costs incurred defending
      against this frivolous motion. See e.g., Sokos v. Hilton Hotels Corp., 283 F. Supp. 2d 42, 57
      (D.D.C. 2003) (sanctioning Plaintiff for seeking legally unsupported sanctions); Claudet v. First
      Fed. Credit Control, Inc., No. 14 Civ. 2068, 2015 WL 7984410, at *3 (M.D. Fla. November 17,
      2015) (sanctioning defendants for filing an improper motion for sanctions "[d]espite achieving a
      voluntary dismissal”); JP Morgan Chase Bank, N.A. v. Winget, No. 08-13845, 2014 WL
      12725040, at *1 (E.D. Mich. February 25, 2014) (requiring reimbursement of expenses incurred
      responding to a frivolous sanction motion); see also Bangkok Broad. & T.V. Co., LTD. v. IPTV
      Corp., No. 09 Civ. 3803, 2010 WL 11523703, at *6 (C.D. Cal. February 12, 2010) ("[A] frivolous
      motion for sanctions can be grounds for sanctions itself").



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       In addition to imposing sanctions against the UMG defendants for filing this baseless
motion, the Plaintiff and Mr. Blackburn respectfully request that the court retain jurisdiction of the
issues raised in the 5/21/24 and 5/23/24 letters emailed to chambers. The plaintiff and his counsel
have filed several complaints, and their devices are being assessed. The Plaintiff and his counsel
anticipate the UMG defendants being responsible for the claims raised in the letters.


                                       CONCLUSION
       For the preceding reasons, Plaintiff respectfully requests that the Court deny Defendants'
motion for sanctions and consider awarding Plaintiff fees and costs, as the Court deems reasonable
and appropriate, that Plaintiff has incurred responding to Defendants' baseless motion.


Dated: June 3, 2024
Brooklyn, New York
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